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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


  MARYLAND CHAPTER OF THE SIERRA
  CLUB, et al.,
                Plaintiffs,

         v.                                                      Civil Action No. DKC 22-2597

  FEDERAL HIGHWAY
  ADMINISTRATION, et al.,

                    Defendants.
  __________________________________________

  NORTHERN VIRGINIA CITIZENS’
  ASSOCIATION,

                         Plaintiff,

         v.                                                      Civil Action No. DKC 22-3336

  FEDERAL HIGHWAY
  ADMINISTRATION, et al.,

                         Defendants.


    FEDERAL DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT,
   OPPOSITION TO PLAINTIFFS’ JOINT MOTION FOR SUMMARY JUDGMENT,
                     AND REQUEST FOR HEARING

       Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 105-1, Defendants the

Federal Highway Administration, Stephanie Pollack in her official capacity, and Gregory Murrill

in his official capacity (together the “Federal Defendants”) hereby cross-move for summary

judgment as to all claims in the complaints filed by Plaintiffs Maryland Chapter of the Sierra

Club, Friends of Moses Hall, National Trust for Historic Preservation, and Natural Resources

Defense Council (Case No. 22-cv-2597), and Northern Virginia Citizens Association (Case No.

22-cv-3336).
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       Federal Defendants submit the attached memorandum in support of their cross motion.

For the reasons stated in the attached memorandum, Federal Defendants request that this Court

grant their cross-motion and deny the Plaintiffs’ joint motion for summary judgment (ECF No.

46).

       Pursuant to Local Rule 105.6, Federal Defendants request a hearing on this motion.


       Dated: August 7, 2023

                                            Respectfully submitted,

                                            TODD KIM
                                            Assistant Attorney General

                                            By: /s/ Samuel R. Vice
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of August 2023 a copy of the foregoing Cross-Motion

for Summary Judgment, Opposition to Plaintiffs’ Motion for Summary Judgment, and attached

Memorandum in Support has been electronically filed with the Clerk of Court and served on all

registered parties via CM/ECF.


                                                          By: /s/ Samuel R. Vice
                                                          SAMUEL R. VICE




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